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PROB 22                                                                                                  DOCKET NUMBER (Tran. Court)
(Rev. 2/88)                                                                                              13 CR 897
                                TRANSFER OF JURISDICTION
                                                                                                         DOCKET NUMBER (Rec. Court)



 NAME AND ADDRESS OF PROBATIONER/SUPERVISED RELEASEE:              DISTRICT

 Bladimir Rigo                                                     SOUTHERN DISTRICT OF NEW YORK
 New Jersey
                                                                   NAME OF SENTENCING JUDGE

                                                                   Robert W. Sweet, U.S. District Judge
                                                                   DATES OF PROBATION/SUPERVISED             FROM          TO
                                                                   RELEASE:
                                                                                                             04/27/18      04/26/21

 OFFENSE

 Count 1: Conspiracy to Commit Health Care Fraud in Violation of 18 U.S.C. 1349, a Class C Felony. Count 2: Conspiracy
 to Commit Certain Adulteration Offenses and the Unlawful Wholesale Distribution of Prescription Drugs in Violation of
 18 U.S.C. 371, a Class D Felony


 PART 1 - ORDER TRANSFERRING JURISDICTION


 UNITED STATES DISTRICT COURT FOR THE "SOUTHERN DISTRICT OF NEW YORK"

           IT IS HEREBY ORDERED that pursuant to 18 U.S.C. 3605 the jurisdiction of the probationer or supervised
 releasee named above be transferred with the records of the Court to the United States District Court for the District of
 New Jersey upon that Court’s order of acceptance of jurisdiction. This Court hereby expressly consents that the period
 of probation or supervised release may be changed by the District Court to which this transfer is made without further
 inquiry of this Court.*




                  1/7/2021
              Date                                                            United States District Judge

 *This sentence may be deleted in the discretion of the transferring Court.

 PART 2 - ORDER ACCEPTING JURISDICTION

 UNITED STATES DISTRICT COURT FOR THE DISTRICT OF NEW JERSEY

         IT IS HEREBY ORDERED that jurisdiction over the above-named probationer/supervised releasee be accepted
 and assumed by this Court from and after the entry of this order.




              Effective Date                                                  United States District Judge
